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                                                IN THE DISTRICT COURT IN AND FOR
                                                THE MIDDLE DISTRICT OF FLORIDA
                                                OCALA DIVISION

                                                CASE NO. 5:11-cv-00285-RBD-MCR
  CURT and DIANE GUYER,

         Plaintiffs,

  v.

  CAPITAL MANAGEMENT SERVICES, LP,

        Defendant.
  _____________________________________/

                                NOTICE OF SETTLEMENT

         NOTICE IS HEREBY GIVEN that Plaintiffs have filed with the Clerk of the

  District Court of the Middle District of Florida, Plaintiffs’ Notice of Settlement. Plaintiffs

  hereby respectfully request that this Court allow sixty (60) days within which to complete

  the settlement and to file a Dismissal in this matter. This Court shall retain jurisdiction

  over this matter until fully resolved.



                                                     Respectfully submitted,
                                                     CURT and DIANE GUYER


                                                     By: s/ Alex Weisberg
                                                     ALEX D. WEISBERG
                                                     FBN: 0566551
                                                     WEISBERG & MEYERS, LLC
                                                     ATTORNEYS FOR PLAINTIFFS
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                               CERTIFICATE OF FILING

         I HEREBY CERTIFY THAT this Notice was filed on this 1st day of July, 2011,

  by means of the CM/ECF system.

                            CERTIFICATE OF SERVICE BY MAIL

         I, Alex D. Weisberg, certify that a true and correct copy of the foregoing Notice

  was served upon Mr. Corey Magnuson, Capital Management Services, LP, 726 Exchange

  St., Ste. 700, Buffalo, NY 14210, by depositing the same on July 1, 2011, in the U.S.

  Mail Chute enclosed in an envelope with first class postage prepaid thereon.




                                                   By: s/ Alex Weisberg
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